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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UNITED STATES OF AMERICA
                                                    No. 21 CR 371
              v.
                                                    Judge Matthew F. Kennelly
VIVIANNA LOPEZ, et al.


      DEFENDANT VIVIANNA LOPEZ’S RESPONSE TO THE
  GOVERNMENT’S MOTION FOR ENTRY OF PROTECTIVE ORDER
                GOVERNING DISCOVERY

       A good place to start is where the parties agree: Defendant VIVIANNA LOPEZ,

by TDC LAW OFFICE and its attorney, MIANGEL C. CODY, agrees that some

protective measures are appropriate and ought to govern discovery in this case.

Defendant’s interest is in defending herself, as the Constitution allows. She has no interest

in the unfettered or unprotected dissemination of sensitive information. Although

Defendant does not object to the government’s motion for a protective order, she does

object to the proposed order that the government has tendered to the Court. The

government’s proposed protective order is problematic because (A) it is overly broad

and (B) it unduly compromises Ms. Lopez’s ability to prepare a defense. For these

reasons, Defendant asks that the Court enter the protective order that is attached as

Exhibit A to this Response, as it strikes a fair balance between the needs of the

defense and the protection of third parties.



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                                       I.   ARGUMENT

       A.     The Government’s proposed protective order is overly broad.

       According to its motion, the government seeks an order to protect “sensitive

information [ ] whose unrestricted dissemination could adversely affect law enforcement

interests and the privacy interests of third parties.” ECF No. 37. Such categories of

sensitive information include “materials containing taxpayer information obtained from the

Internal Revenue Service” and “financial information of one or more persons other than

the defendant to whom the information is disclosed.” (See Gov’t Proposed Protective Order

tendered to Chambers, attached hereto as Exh. B).        If the government only sought to

restrict sensitive information, then there would be no dispute among the parties. To be

sure, Ms. Lopez readily agrees that private and sensitive information exchanged in

discovery should be protected. However, the government’s proposed order goes far

beyond protecting private and sensitive information. Indeed, the government asks this

Court to restrict defendant’s use of all discovery, regardless of whether it contains sensitive

information. The first paragraph of the government’s proposed order states:

       “All of the materials provided by the United States in preparation for, or in
       connection with, any stage of the proceedings in this case (collectively, “the
       materials”) are subject to this protective order . . .”

(Ex. B at para. 1.) The government’s proposed order is not limited to sensitive information

where there is a legitimate basis for protection. Rather, it encompasses all discovery in this

case, even discovery containing no sensitive information that merits protection.

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       A court in this district has already rejected a similar request from the government

for a cart blanche protective order. In United States v. Turner, No. 11cr663, Magistrate

Judge Cox denied a portion of the government’s motion because it was overbroad,

concluding:

      “There simply is no authority for the proposition that the government may limit the use
      of discovery materials by the defense under the Federal Rules of Criminal Procedure
      without a specific review of the materials to determine whether the limitations are
      warranted.”

Doc. No. 21.

       Ms. Lopez responds that the Court should not enter an all-encompassing

protective order. Rather, the Court’s order should protect only the sensitive and private

information for which (admittedly) the government has established a particularized need

for protection. Ms. Lopez’s proposed order, which is attached as Exhibit A, strikes this

fair balance.

       B.       The government’s proposed protective order unduly
                compromises Ms. Lopez’s ability to prepare a defense.

       Ms. Lopez also objects because the government’s proposed order is unduly

burdensome. First, s he objects to the provision requiring all notes and records

created by the defense to be treated exactly the same as materials supplied by the

government. Paragraph 6 of the government’s proposed order states:

      “Defendants, defendants’ counsel, and authorized persons shall not disclose any notes
      or records of any kind that they make in relation to the contents of the materials, other
      than to authorized persons, and all such notes or records are to be treated in the same
      manner as the original materials.”

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This proposed provision interferes with the defense’s right to prepare a defense and

counsel’s ability to create work-product. Furthermore, given the overly broad nature of

the order itself, this provision even applies to work-product pertaining to nonsensitive

information. The government’s proposed order unnecessarily cripples the defense’s

investigation even as to matters that exceed the scope of sensitive information.

      Second, Paragraph 7 requires defense counsel to provide all authorized persons

with a copy of the protective order. Doing so exposes not only defense counsel but also

staff, potential witnesses, and expert witnesses to possible sanctions for failing to comply

with the order. The undue threat of sanctions would have a potentially chilling effect on

defense counsel’s ability to represent the defendant vigorously. (Ex. B at para. 7.) Potential

witnesses might understandably hesitate before beginning any substantive conversation

with defense counsel if the first topic is a warning that doing so potentially exposes them

to sanctions.

       Third, Paragraph 9 of the government’s proposed order contains a general

clawback provision regarding “any material” produced to the defense by mistake.

(Ex. B at para. 9 .) Again, the government asks the Court to order clawback of more

than inadvertently produced sensitive information. It seeks an order that allows clawback

of any material that the Government unilaterally deems to be inadvertently

produced, regardless of whether the material contains sensitive information. Such a

broad clawback provision exceeds the purposes of a protective order and Rule 16.
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                                     II.   CONCLUSION

       Undersigned counsel understands that the defense counsel in this district routinely

agrees to the government’s standard protective order. However, the Federal Rules

pertaining to protective orders require more than what is merely customary. The

government has not carried its burden of establishing why all discovery in this case should

be subjected to the stringent conditions it proposes.

       Although the defense does not oppose the government’s motion for a

protective order in principle, we do oppose the government’s proposed order as overly

broad and unduly burdensome. Ms. Lopez respectfully submits an alternative protective

order that strikes a fair balance between the needs of the defense and the protection

of sensitive information. For the reasons stated herein, Ms. Lopez asks the Court to

enter the proposed protective order attached as Exhibit A to this Response.

       Respectfully submitted,

                                                           /s/ MiAngel Cody
                                                             MIANGEL CODY
                                                             TDC LAW OFFICE
                                                             1325 S. Wabash Ave. Suite 305
                                                             Chicago, IL 60605
                                                             Counsel for Vivianna Lopez




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                            CERTIFICATE OF SERVICE


      The undersigned, MiAngel Cody, an attorney with the Federal Defender
Program hereby certifies that in accordance with FED.R.CRIM. P. 49, FED. R. CIV.
P5, LR5.5, and the General Order on Electronic Case Filing (ECF), the following
document(s):

          DEFENDANT VIVIANNA LOPEZ’S RESPONSE TO THE
         GOVERNMENT’S MOTION FOR ENTRY OF PROTECTIVE
                ORDER GOVERNING DISCOVERY

was served pursuant to the district court’s ECF system as to ECF filings, if any, and
were sent by first-class mail/hand delivery on July 12, 2021, to counsel/parties that are
non-ECF filers.



                                                          /s/ MiAngel Cody
                                                            MIANGEL CODY
                                                            TDC LAW OFFICE
                                                            1325 S. Wabash Ave. Suite 305
                                                            Chicago, IL 60605
                                                            Counsel for Vivianna Lopez




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         EXHIBIT A: DEFENDANTS’
       PROPOSED PROTECTIVE ORDER




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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

  UNITED STATES OF AMERICA
                                                      No. 21 CR 371
                 v.
                                                      Judge Matthew F. Kennelly
  VIVIANNA LOPEZ, et al.


                      PROTECTIVE ORDER GOVERNING DISCOVERY

        This matter coming before the Court, and the Court being fully advised pursuant to

Fed. R. Crim. P. 16(d) and Title 18 United States Code, Section 3771, it is hereby ORDERED:

        1.      The materials exchanged in connection with this matter – whether supplied by

the United States, the defendant, or a third party – may contain particularly sensitive information

(“Sensitive Information”). Sensitive Information includes, but is not limited to: (1) nonparty

names, addresses, dates of birth, driver’s license numbers, social security numbers, and other

identifying information; (2) the addresses, dates of birth, driver’s license numbers, social security

numbers, and other identifying information of parties or nonparties who are under government’s

Witness Protection Program; and (3) nonparty financial information such as materials containing

taxpayer information obtained from the Internal Revenue Service.

        2.      All materials containing Sensitive Information (the “Materials") including those

previously produced to defendant in this case are subject to this Protective Order and shall be

plainly marked as sensitive by the government prior to disclosure. The Materials may be used by

defendant and defendant’s counsel (defined as counsel of record in the above-captioned case)

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solely in connection with the defense of this case, and for no other purpose, and in connection

with no other proceeding, without further order of this Court.

         3.    Defendant and defendants’ counsel shall not disclose the materials or their

contents directly or indirectly to any person or entity other than defendant, counsel for

defendant, persons employed to assist the defense, the person to whom the sensitive

information solely and directly pertains, persons who are interviewed as potential witnesses,

counsel for potential witnesses, and other persons to whom the Court may authorize disclosure

(collectively, “authorized persons”).

         4.    Potential witnesses and their counsel may be shown copies of the materials as

necessary to prepare the defense, but may not retain copies without prior permission of the

Court.

         5.    Absent prior permission from the Court, information marked as sensitive shall

not be included in any public filing with the Court, and instead shall be submitted under seal

(except in the case of a defendant who chooses to include in a public document sensitive

information relating solely and directly to the defendant making the filing).

         6.    Defendant, defendants’ counsel, and authorized persons shall not copy or

reproduce the materials except in order to provide copies of the Materials for use in connection

with this case by defendant, defendant’s counsel, and authorized persons. Such copies and

reproductions shall be treated in the same manner as the original materials.

         7.    Defendant, defendant’s counsel, and authorized persons shall not disclose any

notes or records of any kind that they make in relation to the contents of the materials, other

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than to authorized persons, and all such notes or records are to be treated in the same manner

as the original materials.

         8.    Before providing materials containing sensitive information to an authorized

person, defense counsel must provide the authorized person with a copy of this Order.

         9.    Upon conclusion of all stages of this case, all of the materials and all copies made

thereof shall be disposed of in one of three ways, unless otherwise ordered by the Court. The

materials may be (1) destroyed; (2) returned to the United States; or (3) retained in defense

counsel's case file. The Court may require a certification as to the disposition of any such

materials. In the event that the materials are retained by defense counsel, the restrictions of this

Order continue in effect for as long as the materials are so maintained, and the materials may

not be disseminated or used in connection with any other matter without further order of the

Court.

         10.   To the extent that any Sensitive Information is produced by the United States to

defendant or defendant’s counsel by mistake, or is produced by the defendant to the United

States by mistake, the producing party shall have the right to request the return of the material

and shall do so in writing. Within five days of the receipt of such a request, defendant and/or

defendant’s counsel or the government shall return all such material if in hard copy, and in the

case of electronic materials, shall certify in writing that all copies of the specified material have

been deleted from any location in which the material was stored.

         11.   The restrictions set forth in this Order do not apply to discovery materials that

do not contain sensitive information, documents that are or become part of the public court

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record, including documents that have been received in evidence at other trials, nor do the

restrictions in this Order limit defense counsel in the use of discovery materials in judicial

proceedings in this case, except that any document filed by any party which attaches or otherwise

discloses specially identified sensitive information as described in Paragraph 1 above shall be

filed under seal to the extent necessary to protect such information, absent prior permission

from this Court.

        12.   Nothing contained in this Order shall preclude any party from applying to this

Court for further relief or for modification of any provision hereof.



                                           ENTER:


                                           MATTHEW F. KENNELLY
                                           District Court Judge
                                           United States District Court
                                           Northern District of Illinois

Date:




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          EXHIBIT B: GOVERNMENT’S
        PROPOSED PROTECTIVE ORDER




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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA
                                              No. 21 CR 371
              v.
                                              Judge Matthew F. Kennelly
VIVIANNA LOPEZ, et al.


              PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the unopposed motion of the government, pursuant to Fed. R. Crim. P.

16(d), it is hereby ORDERED:

      1.     All of the materials provided by the United States in preparation for, or

in connection with, any stage of the proceedings in this case (collectively, “the

materials”) are subject to this protective order and may be used by defendants and

defendants= counsel (defined as counsel of record in this case) solely in connection

with the defense of this case, and for no other purpose, and in connection with no

other proceeding, without further order of this Court.

      2.     Defendants and defendants’ counsel shall not disclose the materials or

their contents directly or indirectly to any person or entity other than persons

employed to assist in the defense, persons who are interviewed as potential witnesses,

counsel for potential witnesses, and other persons to whom the Court may authorize

disclosure (collectively, “authorized persons”). Potential witnesses and their counsel

may be shown copies of the materials as necessary to prepare the defense, but may

not retain copies without prior permission of the Court.
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      3.     Any materials containing taxpayer information obtained from the

Internal Revenue Service shall be plainly marked as such by the government prior to

disclosure. No such materials, or the information contained therein, may be disclosed

to any persons other than defendants, defendants= counsel, persons employed to

assist the defense, or the taxpayer on whose behalf such information was provided to

the Internal Revenue Service, without prior notice to the government and

authorization from the Court. Absent prior permission from the Court, taxpayer

information obtained from the Internal Revenue Service shall not be included in any

public filing with the Court, and instead shall be submitted under seal (this Order

does not, however, prohibit a defendant from making a public filing containing the

defendant’s own taxpayer information).

      4.     Certain additional materials disclosed or to be disclosed by the

government    contain   particularly   sensitive   information,   including   financial

information of one or more persons other than the defendant to whom the information

is disclosed. These materials shall be plainly marked as sensitive by the government

prior to disclosure. No such materials, or the information contained therein, may be

disclosed to any persons other than defendants, counsel for defendants, persons

employed to assist the defense, or the person to whom the sensitive information solely

and directly pertains, without prior notice to the government and authorization from

the Court. Absent prior permission from the Court, information marked as sensitive

shall not be included in any public filing with the Court, and instead shall be


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submitted under seal (except in the case of a defendant who chooses to include in a

public document sensitive information relating solely and directly to the defendant

making the filing).

      5.     Defendants, defendants= counsel, and authorized persons shall not copy

or reproduce the materials except in order to provide copies of the materials for use

in connection with this case by defendants, defendants’ counsel, and authorized

persons. Such copies and reproductions shall be treated in the same manner as the

original materials.

      6.     Defendants, defendants= counsel, and authorized persons shall not

disclose any notes or records of any kind that they make in relation to the contents of

the materials, other than to authorized persons, and all such notes or records are to

be treated in the same manner as the original materials.

      7.     Before providing materials to an authorized person, defense counsel

must provide the authorized person with a copy of this Order.

      8.     Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The materials may be (1) destroyed; (2) returned to the United

States; or (3) retained in defense counsel's case file. The Court may require a

certification as to the disposition of any such materials. In the event that the

materials are retained by defense counsel, the restrictions of this Order continue in

effect for as long as the materials are so maintained, and the materials may not be


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disseminated or used in connection with any other matter without further order of

the Court.

      9.     To the extent any material is produced by the United States to

defendants or defendants= counsel by mistake, the United States shall have the right

to request the return of the material and shall do so in writing. Within five days of

the receipt of such a request, defendants and/or defendants’ counsel shall return all

such material if in hard copy, and in the case of electronic materials, shall certify in

writing that all copies of the specified material have been deleted from any location

in which the material was stored.

      10.    The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials, nor do the restrictions in this Order limit defense

counsel in the use of discovery materials in judicial proceedings in this case, except

that any document filed by any party which attaches or otherwise discloses the

contents of taxpayer information obtained from the Internal Revenue Service (other

than taxpayer information relating solely to the defendant filing the document in

question) or specially identified sensitive information as described in Paragraph 4,

above, shall be filed under seal to the extent necessary to protect such information,

absent prior permission from this Court.




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        11.   Nothing contained in this Order shall preclude any party from applying

to this Court for further relief or for modification of any provision hereof.

                                         ENTER:


                                         MATTHEW F. KENNELLY
                                         District Court Judge
                                         United States District Court
                                         Northern District of Illinois

Date:




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